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STRAFFI & STRAFFI, LLC
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(732) 341-3548 (fax)
bkclient@straffilaw.com
Attorney for Debtor(s)


In re:                              )          UNITED STATES BANKRUPTCY COURT
                                    )          FOR THE DISTRICT OF NEW JERSEY
                                    )
                                    )          Chapte3123 proceeding
      Jones, Kimberly               )          Case No. 16-22234/CMG
                                    )
                                    )          NOTICE OF MOTION FOR ORDER
                                    )          CONVERTING CASE FROM CHAPTER 13
                                    )          TO CHAPTER11 BANKRUPTCY
             Debtor(s).             )
                                    )
                                    )          Hearing Date: August 2, 2018 @ 11:00 am
____________________________________)          ORAL ARGUMENT WAIVED


To:            All parties on mailing list annexed hereto.


              PLEASE TAKE NOTICE that Daniel E. Straffi, Jr., Esq., attorney for Debtor,

Kimberly Jones shall move before the Honorable Vincent F. Papalia, United States Bankruptcy

Court, 50 Walnut Street, Courtroom 3B, Newark, New Jersey, on August 2, 2018 at 11:00 a.m. or

at such sooner time as the Court may direct, for the entry of an Order to Convert to Chapter 11

Bankruptcy;

              PLEASE TAKE FURTHER NOTICE that the movant shall rely upon the

attached Certification. No brief is submitted since no unique question of law exists;

              PLEASE TAKE FURTHER NOTICE that if any party in interest objects to the

within Motion, a written objection must be filed with the Clerk of the United States Bankruptcy

Court, United States Courthouse, MLK Jr Federal Building, 50 Walnut Street, Newark, New
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Jersey 07102, with a copy of any such objection to be served on the undersigned. All such

objections must be filed not later than seven (7) days before the above hearing date or such other

time as the Court may direct;

                PLEASE TAKE FURTHER NOTICE that the undersigned waives oral

argument; and

                PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

enclosed.


                                                            /s/ Daniel E. Straffi, Jr.
Dated: July 3, 2018
                                                            Daniel E. Straffi, Jr.
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                                  MAILING LIST

                                 US Trustee’s Office
                                 One Newark Center
                                     Suite 2100
                                 Newark, NJ 07102

                                Marie -Ann Greenberg
                             Standing Chapter 13 Trustee
                                30 Two Bridges Road
                                       Suite 330
                                  Fairfield, NJ 07004
                                 (Chapter 13 Trustee)

                                  Kimberly Jones
                               c/o DDK & Company
                              1 Penn Plaza, Suite 440
                             New York, NY 10119-0499
                                     (Debtor)

                           Rushmore Loan Management
                              15480 Laguna Canyon
                              Irvine, CA 92618-2132
                     Attn: Officer, Managing or General Agent
                                 (Secured Creditor)

                                 Parker, McCay, P.A.
                                 9000 Midlantic Driv
                              Suite 300, P.O. Box 5054
                            Mount Laurel, NJ 08054-1539
                     (Attorney for Rushmore Loan Management)
